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 8   Attorneys for Plaintiff
 9
                                 UNITED STATES DISTRICT COURT
10
                                EASTERN DISTRICT OF CALIFORNIA
11

12
     JEANETTE TAYLOR, on Behalf of Herself and     Case No. 2:16-cv-0881-JAM-KJN
13
     all Others Similarly Situated,
14
                               Plaintiff,          STIPULATION OF VOLUNTARY
15          v.                                     DISMISSAL WITH PREJUDICE
                                                   [FRCP 41(a)(1)(A)(ii)]
16   WORLD HEALING CENTER CHURCH, INC.,
     and TOUFIK BENEDICTUS HINN,
17
                               Defendants.
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     STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
     CASE NO. 2:16-CV-0881-JAM-KJN
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 1          Plaintiff Jeanette Taylor (“Plaintiff”) and Defendants World Healing Center Church, Inc.

 2   and Toufik Benedictus Hinn (“Defendants”), by and through their respective undersigned

 3   attorneys, HEREBY STIPULATE AND AGREE that, pursuant to Federal Rule of Civil Procedure

 4   41(a)(1)(A)(ii), Plaintiff hereby dismisses all claims in this action against Defendants with

 5   prejudice.

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 7          IT IS SO STIPULATED.

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10   Dated: August 23, 2016                        Respectfully submitted,

11                                                 BURSOR & FISHER, P.A.
12
                                                   By:     /s/ Yeremey Krivoshey
13                                                              Yeremey Krivoshey

14                                                 Attorneys for Plaintiff

15
     Dated: August 23, 2016                        NIXON PEABODY LLP
16
                                                   By:     /s/ Jason Gonzalez
17                                                              Jason Gonzalez
18
                                                   Attorneys for Defendants
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     STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
     CASE NO. 2:16-CV-0881-JAM-KJN
